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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        §
                                                §
V.                                              § CAUSE:
                                                      CASE
                                                         NO.NO.:
                                                            21-CR-327
                                                                 1:24-cr-169
                                                §
ISABELLA DELUCA                                 §
                                                §

               DEFENDANT’S MOTION FOR PERMISSION TO TRAVEL


       Defendant, by and through undersigned counsel, respectfully moves this Court

pursuant to this Court's Conditions of Release Order and under 18 U.S. C. Section

3142, for permission to travel to Leeds, England for one week from September 2nd

though 9th of this year, to visit family friends, and states:

1.     Defendant Isabella Deluca requests permission to visit a family friend in England

for one-week next month.

2.     Defendant is not a flight risk and is charged with only misdemeanor charges.

3.     Defendant has not missed or evaded any Court proceeding and is in full

compliance with release conditions.

4.     The Government is opposed to this request in standing with their policy of

opposing all foreign travel request made by capitol breach defendants.

5.     Pre-trial Services does not oppose the request.

WHEREFORE, Defendant respectfully requests this Court to grant permission to travel.

DATED: August 6, 2024.

                                                   Respectfully submitted.

                                                   /s/ ANTHONY F. SABATINI
                                                   FL Bar No. 1018163
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                              CERTIFICATE OF SERVICE
I hereby certify that on August, 6 2024, I filed the foregoing Notice of Attorney
Appearance using the CM/ECF system which will give electronic notification to all
attorneys of record.

                                               /s/ Anthony F. Sabatini
